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1    JENNER & BLOCK LLP
        Reid J. Schar (pro hac vice)
2       RSchar@jenner.com
        353 N. Clark Street
3
        Chicago, IL 60654-3456
4    Telephone: +1 312 222 9350
     Facsimile: +1 312 527 0484
5
     CLARENCE DYER & COHEN LLP
6       Kate Dyer (Bar No. 171891)
        kdyer@clarencedyer.com
7       899 Ellis Street
8       San Francisco, CA 94109-7807
     Telephone: +1 415 749 1800
9    Facsimile: +1 415 749 1694

10   CRAVATH, SWAINE & MOORE LLP
        Kevin J. Orsini (pro hac vice)
11      korsini@cravath.com
12      825 Eighth Avenue
        New York, NY 10019
13   Telephone: +1 212 474 1000
     Facsimile: +1 212 474 3700
14
     Attorneys for Defendants PACIFIC GAS AND ELECTRIC COMPANY
15
                                 UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                  SAN FRANCISCO DIVISION

18                                                 Case No. 14-CR-00175-WHA
     UNITED STATES OF AMERICA,
19                                                 PACIFIC GAS AND ELECTRIC
                                  Plaintiff,       COMPANY’S SUPPLEMENTAL
20                                                 RESPONSE TO REQUEST FOR
        v.                                         INFORMATION
21
     PACIFIC GAS AND ELECTRIC                      Judge: Hon. William Alsup
22   COMPANY,                                      Date: August 16, 2019
23
                                  Defendant.
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             PACIFIC GAS AND ELECTRIC COMPANY’S SUPPLEMENTAL RESPONSE TO REQUEST
                                     Case No. 14-CR-00175-WHA
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1           PG&E writes to provide additional detail regarding statements in its July 31, 2019 submission

2    that the Caribou-Palermo 115 kV Transmission Line has been permanently de-energized to avoid any

3    misunderstanding of what the de-energization of the line entails.

4           The Caribou-Palermo 115 kV Transmission Line has two sections: a northern section and a

5    southern section. Both sections of the Caribou-Palermo 115 kV Transmission Line have been

6    permanently de-energized.

7           The northern section of the line is approximately 36 miles long and runs from Caribou

8    Powerhouse to the Big Bend Switching Station. This section of the line is supported by single-circuit

9    towers that carry only one transmission line—the now de-energized Caribou-Palermo 115 kV

10   Transmission Line. Tower :27/222, where the Camp Fire originated, is located along this section,

11   approximately 10 miles north of the Big Bend Switching Station.

12          The southern section of the line is of a different vintage and construction than the northern

13   section and runs from the Big Bend Switching Station to Palermo Substation (a distance of

14   approximately 16 miles). Between the Big Bend Switching Station and the Palermo Substation, nearly

15   all of the towers are double-circuit towers that support both the de-energized Caribou-Palermo 115 kV

16   Transmission Line, as well as other transmission lines or lower-voltage distribution lines that remain

17   energized. Consistent with PG&E’s Wildfire Safety Inspection Program, all such transmission towers

18   located in Tier 2 and Tier 3 High Fire-Threat District areas that support energized lines have been

19   subjected to PG&E’s enhanced climbing and drone inspections prior to the 2019 fire season. All of

20   the highest-priority conditions identified during PG&E’s enhanced inspections of these towers were

21   addressed or made safe by February 2019.

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             PACIFIC GAS AND ELECTRIC COMPANY’S SUPPLEMENTAL RESPONSE TO REQUEST
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1                                        Respectfully Submitted,

2
     Dated: August 16, 2019
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4                                                  JENNER & BLOCK LLP

5
                                         By:       /s/ Reid J. Schar
6                                                  Reid J. Schar (pro hac vice)
7
                                                   CRAVATH, SWAINE & MOORE LLP
8

9                                        By:       /s/ Kevin J. Orsini
                                                   Kevin J. Orsini (pro hac vice)
10
                                                   CLARENCE DYER & COHEN LLP
11

12
                                         By:       /s/ Kate Dyer
13
                                                   Kate Dyer (Bar No. 171891)
14

15
                                            Attorneys for Defendant PACIFIC GAS AND
16                                          ELECTRIC COMPANY

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            PACIFIC GAS AND ELECTRIC COMPANY’S SUPPLEMENTAL RESPONSE TO REQUEST
                                    Case No. 14-CR-00175-WHA
